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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA

United States of America,           )
                                    )
                 Plaintiff,         )       ORDER
                                    )
       vs.                          )
                                    )
Jessica Babin,                      )       Case No. 1:18-cr-034
                                    )
                 Defendant.         )


       Defendant was conditionally released to Teen Challenge in Bismarck, North Dakota, on

August 29, 2018. On December 7, 2018, the parties filed a stipulation in which they agreed to

defendant’s release from Teen Challenge over Christmas. The court ADOPTS the parties’

stipulation (Doc. No. 272) Defendant is permitted to leave Teen Challenge on December 22, 2018,

the understanding that she shall return to Teen Challenge on December 26, 2018.

       IT IS SO ORDERED.

       Dated this 10th day of December, 2018.

                                                   /s/ Charles S. Miller, Jr.
                                                   Charles S. Miller, Jr., Magistrate Judge
                                                   United States District Court
